      CASE 0:25-cv-00048-PAM-DLM          Doc. 60   Filed 05/21/25    Page 1 of 1




                        UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA
                        Civil No. 0:25-cv-00048 (PAM/DLM)


 UNITED STATES OF AMERICA,

                        Plaintiff,

 v.

 CITY OF MINNEAPOLIS,

                       Defendant.


                                [PROPOSED] ORDER

      Before the Court is Plaintiff United States of America’s Motion to Dismiss and to

Hold Proceedings in Abeyance Pending Resolution of This Motion. Based upon review

of the Motion and for good cause shown, the Court hereby GRANTS the United States’

motion. This matter is dismissed with prejudice.


DATED:

                                        _______________________________
                                        PAUL A. MAGNUSON
                                        United States District Court Judge
